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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S “MOTION IIN
          Plaintiff,                   LIMINE #2;” DECLARATION
                                       OF COUNSEL; EXHIBIT “A;”
         v.                            CERTIFICATE OF SERVICE


   ANTHONY T. WILLIAMS,

          Defendant.


                DEFENDANT’S “MOTION IN LIMINE #2”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and submits his

   “MOTION IN LIMINE #2;” Declaration of Counsel, Exhibit “A”

   and Certificate of Service.
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      Dated: January 16, 2020

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
